                          I N T H E U N I T E D S TAT E S B A N K R U P T C Y C O U R T
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                          NASHVILLE         DIVISION


IN RE:


Edmound Dai'Re, Jr. and                                           BK No. 18-03877-RM3-7
Deborah Anne Dai'Re,


             Debtor(s).

    A U C T I O N E E R ' S D E C L A R AT I O N I N S U P P O R T O F E M P L O Y M E N T A P P L I C AT I O N


                                                             hereby verify, under penalty of peijury, that I

am an auctioneer with McLemore Auction Company, LLC, and that neither I nor any other employee

or agent of McLemore Auction Company, LLC have any interest adverse to the bankruptcy estate in

connection with this proceeding, and that neither I nor McLemore Auction Company, LLC, have any

connection with the Debtors, the creditors, any other party in interest, their respective attorneys or

accountants, the United States Trustee, or any person employed in the office of the United States

Tr u s t e e .


             I currently have an auctioneer's bankruptcy bond in the amount of $50,000.00, and

currently have cash, representing proceeds from sales of bankruptcy estates, in the amount of

SO. This bond is sui^cient to cover the anticipated gross proceeds from the sale in this case. A

true and correct copy of the original bond is on file with the Office of the United States Trustee,

Suite 318, 701 Broadway, Nashville, Tennessee 37203.

                   Dated this / 0 day of August.'2018.



                                                     A/                                           —
                                                     Name:         1^*//
                                                     McLemore Auction Company, LLC




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 Exhibit A - Auctioneers Declaration in Support of Employment Application Page 1 of 1
